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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                     CASE NO.: 1:21-cv-24106

  ALEXANDER BAYONNE STROSS,

                  Plaintiff,

  v.

  GUNSAMERICA LLC,

                  Defendant.


          FIRST AMENDED COMPLAINT FOR COPYRIGHT INFRINGEMENT
                      (INJUNCTIVE RELIEF DEMANDED)

        Plaintiff ALEXANDER BAYONNE STROSS by and through undersigned counsel,

 brings this Complaint against Defendant GUNSAMERICA LLC for damages and injunctive

 relief, and in support thereof states as follows:

                                  SUMMARY OF THE ACTION

                Plaintiff ALEXANDER BAYONNE STROSS (“Stross”) brings this action for

 violations of exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute

 Stross' original copyrighted Work of authorship.

                Stross is the owner and principal photographer of Stross Stock. After traveling

 the world with his camera, creating thousands of high-quality photographs, the natural next step

 was to offer the public means to license his Work. Each photo on Stross Stock is shot with top-

 quality equipment, thoughtfully produced, hand selected, and tastefully edited before being made

 available to the public.

                Stross is a native of Austin, Texas, and watched the small city grow and develop

 into an urban hot spot. This served as his inspiration to become a photographer, centering his

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 expertise on complicated architectural photography and landscape photography. In 2016, Stross

 was nominated and accepted as a professional member of the American Society of Media

 Photographers, which is a high honor. Stross received a B.S. in Computer Science at the

 University of Texas at Austin and has since combined his love for the photographic arts and

 computer science by building an online system to help protect artists' works on the internet.

                 Defendant GUNSAMERICA LLC (“GA, LLC”) is an online marketplace

 specializing in the resale of firearms, ammunition, and related supplies. At all times relevant

 herein, GA, LLC owned and operated the internet website located at the URL

 www.gunsamerica.com (the “Website”).

                 Stross alleges that GA, LLC copied Stross' copyrighted Work from the internet in

 order to advertise, market and promote its business activities. GA, LLC committed the

 violations alleged in connection with GA, LLC’s business for purposes of advertising and

 promoting sales to the public in the course and scope of the GA, LLC’s business.

                                    JURISDICTION AND VENUE

                 This is an action arising under the Copyright Act, 17 U.S.C. § 501.

                 This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

 §§ 1331, 1338(a).

                 Defendant is subject to personal jurisdiction in Florida.

                 Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)

 because the events giving rise to the claims occurred in this district, Defendant engaged in

 infringement in this district, Defendant resides in this district, and Defendant is subject to

 personal jurisdiction in this district.




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                                          DEFENDANT

                GunsAmerica LLC is a Florida Limited Liability Company, with its principal

 place of business at 2040 NE 163rd Street, Suite #310, North Miami Beach, FL 33162, and can

 be served by serving its Registered Agent, Paul Helinski, 2040 NE 163rd Street, Suite #310,

 North Miami Beach, FL 33162.

                           THE COPYRIGHTED WORK AT ISSUE

                In 2016, Stross created the photograph entitled “Washington DC 2016 and

 Directory 1 - 2 (2F0A5263)”, which is shown below and referred to herein as the “Work”.




                Stross registered the Work with the Register of Copyrights on October 19, 2016

 and was assigned the registration number VAu 1-258-006. The Certificate of Registration is

 attached hereto as Exhibit 1.

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                 Stross' Work is protected by copyright but is not otherwise confidential,

 proprietary, or trade secrets.

                 At all relevant times Stross was the owner of the copyrighted Work at issue in this

 case.

                                  INFRINGEMENT BY DEFENDANT

                 GA, LLC has never been licensed to use the Work at issue in this action for any

 purpose.

                 On a date after the Work at issue in this action was created, but prior to the filing

 of this action, GA, LLC copied the Work.

                 On or about March 16, 2021, Stross discovered the unauthorized use of Work on

 the Website.

                 GA, LLC copied Stross' copyrighted Work without Stross' permission.

                 After GA, LLC copied the Work, it made further copies and distributed the Work

 on the internet to promote the sale of goods and services as part of its online marketplace.

                 GA, LLC copied and distributed Stross' copyrighted Work in connection with

 GA, LLC’s business for purposes of advertising and promoting GA, LLC’s business, and in the

 course and scope of advertising and selling products and services.

                 Stross' Works are protected by copyright but are not otherwise confidential,

 proprietary, or trade secrets.

                 GA, LLC committed copyright infringement of the Work as evidenced by the

 documents attached hereto as Exhibit 2.

                 Stross never gave GA, LLC permission or authority to copy, distribute or display

 the Work at issue in this case.


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                 Stross notified GA, LLC of the allegations set forth herein on April 12, 2021 and .

 To date, the parties have failed to resolve this matter. Copies of the Notices to GA, LLC are

 attached hereto as Exhibit 3.

                                         COUNT I
                                  COPYRIGHT INFRINGEMENT

                 Stross incorporates the allegations of paragraphs 1 through 24 of this Complaint

 as if fully set forth herein.

                 Stross owns a valid copyright in the Work at issue in this case.

                 Stross registered the Work at issue in this case with the Register of Copyrights

 pursuant to 17 U.S.C. § 411(a).

                 GA, LLC copied, displayed, and distributed the Work at issue in this case and

 made derivatives of the Work without Stross' authorization in violation of 17 U.S.C. § 501.

                 GA, LLC performed the acts alleged in the course and scope of its business

 activities.

                 GA, LLC’s acts were willful.

                 Stross has been damaged.

                 The harm caused to Stross has been irreparable.

         WHEREFORE, the Plaintiff Alexander Bayonne Stross prays for judgment against the

 Defendant GunsAmerica LLC that:

                 a.       Defendant and its officers, agents, servants, employees, affiliated entities,

         and all of those in active concert with them, be preliminarily and permanently enjoined

         from committing the acts alleged herein in violation of 17 U.S.C. §§ 501, 1203;




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               b.      Defendant be required to pay Plaintiff actual damages and GA, LLC’s

       profits attributable to the infringement, or, at Plaintiff's election, statutory damages, as

       provided in 17 U.S.C. §§ 504, 1203;

               c.      Plaintiff be awarded attorneys’ fees and costs of suit under the applicable

       statutes sued upon;

               d.      Plaintiff be awarded pre- and post-judgment interest; and

               e.      Plaintiff be awarded such other and further relief as the Court deems just

       and proper.

                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury of all issues so triable.

 DATED: November 23, 2021                      Respectfully submitted,


                                               /s/Craig W. Wirth
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